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Case
                                           Sealëd                                   FILED by '        D.C.
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                                                                                      STEVEN M.LARIMORE
                                                                                      CLERK U s DIsT.cT.
                             UN ITED STATES DISTRICT CO URT                            s o ofF7LA - MI
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                             SO UTH ERN D ISTR ICT O F FLO RIDA
                                       M iam iD ivision

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                                    *      w 4                 '    .    *

    UNITED STATES O F AM ERICA,
    exrel.ELLIOTT GELBER Relator,
          Plaintiff,                                         FILED IN CA M EM & U NDER
                                                             SEA L PU RSUANT TO
                                                             31U.S.C.j3730(b)(2)

    AK AL SEC URITY ,IN C.

          Defendant.


                                        SEALED CO M PLA IN T

          Plaintiff,Elliott Gelber,as Relator to the U nited States ofA m erica,sues A kalSecurity,

    lnc.(tçAka1'')forviolatingtheFalseClaimsAct,3lU.S.C.A j3730(tGtheAct'').
                                            lntroduction

                  A kal Security is a governm ent contractor. It em ployees approxim ately 12,000

    peopleandhasapproximately $1,000,000,000.00 (onebillion dollars)in govemmentcontracts.
    M ost,if not all, of the governm ent contracts are with the D epartm ent of Hom eland Security.

    One such contract concem s providing m anagem ent and security at four deportation centers

    (Miami,Florida,E1Centro,California,Florence,Arizona,and ElPaso,Texas). The contract
    includes security serdces on deportation flights. Akal hires air security officers to deportthe

    deportees to their hom e country. On return flights back to the U nited States,the air security

    officers are subjected to an automatic hour one lunch break deduction in theirpay. This
    autom atic one hour deduction is taken from the em ployees' salaries regardless of any actual

    lunch break. Despite the autom atic one hourlunch break deduction,the em ployees'tim e is still
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    billed to the United States. Accordingly, the invoices subm itted to the United States are

    fraudulent.

                                  Parties,Jurisdiction and V enue

                  Plaintiff/Relator,ElliottG elber,isa residentof M iam i-D ade County,Flolida. At

    al1relevanttimes,Plaintiffwasan employeeoftheDefendantatAkal'sM iam i-Dadedeportation

    facility.
                  D efendant,Akal Security, Inc. is a N ew M exico corporation with its principal

    place of business in Espanola,N ew M exico. It operates ancl/or m anages a D HS deportation

    centerin fourlocations,including one in M iam i,Flolida.

                  Jurisdictionisbasedon28U.S.C.j 1331(federalquestionjurisdiction).
                  V enue is proper in the U .S.District Courtfor the Southern D istlict of Florida

    pursuantto28U.S.C.j89(c).
                  A1ladm inistrative prerequisiteshave been satisfied orw aived.

                                    FactsCom m on to AIlC ounts

                  Relator began w orking for Akal on or about April 2, 2014 as an air security

    officer. Heisbased an hourlyrateof$25.58. Heissubjectedto an automaticonehourlunch
    break during rettzrn flights to the United States after dropping off deportees. His em ploym ent

    w ith A kalis based uptm A kal'scontractwith D HS.

                  U pon inform ation and belief, the D HS contract is a cost-plus contract. The

    contractrequiresAkalto com ply with al1local,state and federalstatm es and regulations.

                  Upon inform ation and belief,A kal subm its invoices pursuantto the contractthat

    include the one hour that it did not actually pay the em ployees,including the Relator. The

    invoices subm itted to D H S are therefore inaccurate and fraudulent,resulting in a w indfall to
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    A kal. A kalfailsto com ply with allfederal,state and localregulations because itisviolating the

    FairLaborStandardsActand Florida's m inim um w age law .

                    Count1-FalseClaim undertheAct,31U.S.C.j3729(a)(1)
           l0.    Relatorincorporatesparagraphs 1- 9.
                  A kalknow ingly presented,orcaused to bepresented,to the United States,a false

    orfraudulentclaim forpaym entorapproval.

            12.    Akal's invoicesto D HS overstate theircostby charging the United States fortim e

    thatitdoesnotactually pay to its em ployees.

                   Plaintiff/Relatorhasbeen dam aged as aresult.

            Count11-FalseRecord orStatementundertheAct,31U.S.C.j3729(a)(2)
            14.    Relatorincorporatesparagraphs 1- 9.

            15.    Akal knowingly m ade, used or caused to be m ade or used, a false record or

    statem entto geta false orfraudulentclaim paid orapproved by the United States.

            16.    Akalsubm itted false invoices to the United States. Upon inform ation and belief,

    the United Statespaid those false invoices.
                   Plaintiff/Relatorhasbeen dam aged asa result.

                                          D em and forJury Trial

            Plaintiffdemandsatrialbyjuryona1lissuessotriable.
                                           Prayer for R elief

            PlaintiffpraysthatthisCourtentersjudgmentinhisfavor,onbehalfoftheUnitedStates,
    against A kal Security,Inc.and award reasonable attom ey's fees, expenses and costs and any

    otherreliefthis Courtdeem sisappropriate.
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                                                    Respectfully subm itted,

                                                     /s/M atthew Sarelson
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                                                    600 BrickellAvenue,Suite 1715
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                                                    Phone(305)330-6090
                                                    msarelson@kymplaw.com

                                  CERTIFICATE O F SER VIC E
                                                -              -



            IHEREBY CERTIFY thaton A ugust23,2016,1served a copy ofthis Sealed Complaint
    via U .S.M ail,ReturzzReceiptRequested,asindicated below:

                                               /s att ew arelson
                                           M atthew Seth Sarelson,Esq.

                                          ServiceList
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